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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                    DISTRICT OF
                                    __________ District
                                                 NEVADA of __________
                                                    )
            UNITED STATES OF AMERICA                )      JUDGMENT IN A CRIMINAL CASE
                        v.                          )
          JEFFREY CHRISTOPHER GRANADOS              )
                                                    )      Case Number: 2:14-CR-0054-JCM-CWH
                                                    )      USM Number: 48945-048
                                                    )
                                                    )      LANCE HENDRON
                                                                                     Defendant’s Attorney
THE DEFENDANT:
✔pleaded guilty to count(s)
G                                    ONE [1] OF THE INDICTMENT

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended              Count
 18 USC§1030(a)(2)(C);             Unauthorized Access to a Protected Computer                                7/30/2013                   1
 & 18 USC§1030(c)(2)(B)(ii)




       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔Count(s)
G                All remaining counts                    G is     ✔are dismissed on the motion of the United States.
                                                                  G
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           2/23/2016
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                           James C. Mahan,                              U.S. District Judge
                                                                          Name and Title of Judge

                                                                            February 26, 2016
                                                                          Date
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AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                        Judgment — Page   2       of   6
DEFENDANT: JEFFREY CHRISTOPHER GRANADOS
CASE NUMBER: 2:14-CR-0054-JCM-CWH


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
              (4) months




    G The court makes the following recommendations to the Bureau of Prisons:




    G The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G at                                       G a.m.      G p.m.        on                                             .

          G as notified by the United States Marshal.

    ✔
    G     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ✔ before 2 p.m. on
          G                             5/27/2016                          .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                       Case 2:14-cr-00054-JCM-CWH Document 62 Filed 02/26/16 Page 3 of 8
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                                     Judgment—Page           3     of           6
DEFENDANT: JEFFREY CHRISTOPHER GRANADOS
CASE NUMBER: 2:14-CR-0054-JCM-CWH
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
(3) years

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The
The Defendant
     defendantshall
                  shallnot
                        notunlawfully
                             unlawfullypossess  a controlled
                                          possess            substance.
                                                    a controlled        The defendant
                                                                   substance.          shall refrain
                                                                               The defendant         from
                                                                                                 shall     any unlawful
                                                                                                        refrain from any useunlawful
                                                                                                                              of a controlled
                                                                                                                                        use ofsubstance. The
                                                                                                                                               a controlled
defendant
substance.shall
              Thesubmit  to one shall
                   defendant    drug test within
                                      submit   to 15
                                                   onedays
                                                       drugof test
                                                              placement
                                                                   withinon
                                                                          15probation and at least
                                                                             days of release   fromtwoimprisonment
                                                                                                        periodic drug tests
                                                                                                                      and atthereafter,
                                                                                                                               least twoas periodic
                                                                                                                                           determined by the
                                                                                                                                                    drug tests
thereafter,
court, not toas determined
              exceed 104 testsbyannually.
                                  the court.
                                           Revocation is mandatory for refusal to comply.

G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
G                                                                                                                                     (Check, if applicable.)

✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer.
G                                                                                                                  (Check, if applicable.)


G The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
  as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G The defendant shall participate in an approved program for domestic violence.                   (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                               Judgment—Page    4     of          6
DEFENDANT: JEFFREY CHRISTOPHER GRANADOS
CASE NUMBER: 2:14-CR-0054-JCM-CWH

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Substance Abuse Treatment - You shall participate in and successfully complete a substance abuse treatment and/or
 cognitive based life skills program, which will include drug/alcohol testing and/or outpatient counseling, as approved and
 directed by the probation office. You shall refrain from the use and possession of beer, wine, liquor, and other forms of
 intoxicants while participating in substance abuse treatment. Further, you shall be required to contribute to the costs of
 services for such treatment, as approved and directed by the probation office based upon your ability to pay.

 2. Mental Health Treatment - You shall participate in and successfully complete a mental health treatment program, which
 may include testing, evaluation, and/or outpatient counseling, as approved and directed by the probation office. You shall
 refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants while participating in mental health
 treatment. Further, you shall be required to contribute to the costs of services for such treatment, as approved and directed
 by the probation office based upon your ability to pay.

 3. Alcohol Abstinence - You shall refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants.

 4. Community Service - You shall complete 40 hours of community service, as approved and directed by the probation
 officer.

 5. Victim-Witness Prohibition - You shall not have contact, directly or indirectly, with any victim or witness in this instant
 offense, unless under the supervision of the probation officer.

 6. Warrant less Search - To ensure compliance with all conditions of release, the defendant shall submit to the search of
 his/her person, and any property, residence, business or automobile under his/her control by the probation officer, or any
 other authorized person under the immediate and personal supervision of the probation officer without a search warrant at
 a reasonable time and in a reasonable manner. Provided, however, the defendant shall be required to submit to any
 search only if the probation officer has reasonable suspicion to believe the defendant has violated a condition or conditions
 of release.

 7. Computer Restriction and Monitoring - You shall provide the probation officer with accurate information regarding your
 entire computer system, including all related digital devices with memory and all passwords and internet service providers;
 you shall allow the installation of any software/hardware on your computer by the probation officer, and you shall abide by
 all rules of the Computer Restriction and Monitoring Programs Agreement.
 8. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
  device, or other dangerous weapons, as defined by federal, state, or local law.
9. Report to Probation Officer after Release from Custody - You shall report, in person, to the probation office in the
district to which you are released within 72 hours of discharge from custody.
     ACKNOWLEDGEMENT


     Upon finding of a violation of probation or supervised release, I understand that the court may
     (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
     supervision.

     These conditions have been read to me. I fully understand the conditions and have been provided
     a copy of them.


     (Signed)             _________________________                               ______________________
                          Defendant                                               Date


                        ___________________________                               _______________________
                        U.S. Probation/Designated Witness                         Date
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page     5      of         6
DEFENDANT: JEFFREY CHRISTOPHER GRANADOS
CASE NUMBER: 2:14-CR-0054-JCM-CWH
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                        Fine                             Restitution
TOTALS            $ 100.00                                            $ 0.00                           $ 0.00


G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                            Total Loss*         Restitution Ordered Priority or Percentage




TOTALS                              $                          0.00         $                     0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the             G fine    G restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       6      of          6
DEFENDANT: JEFFREY CHRISTOPHER GRANADOS
CASE NUMBER: 2:14-CR-0054-JCM-CWH

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ✔ Lump sum payment of $
     G                                     100.00               due immediately, balance due

          G      not later than                                      , or
          G      in accordance           G C,         G D,     G       E, or     G F below; or
B    G Payment to begin immediately (may be combined with                      G C,       G D, or      G F below); or
C    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
      "FINAL ORDER OF FORFEITURE ATTACHED"



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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